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                      UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WISCONSIN


MICHELLE R. GILBANK,

                       Plaintiff,
                                                                     Case No. 20-cv-601-jdp
v.

WOOD COUNTY DEPARTMENT OF
HUMAN SERVICES, et al.

                       Defendants.


                    WOOD COUNTY DEFENDANTS’ REPLY BRIEF
                IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


                                        INTRODUCTION
       Plaintiff Michelle Gilbank (“Gilbank”) commenced the present action, alleging numerous

claims under various constitutional and statutory provisions, after Gilbank’s minor child (T.E.H.)

was removed from her custody after Gilbank was arrested for possession of methamphetamines

and drug paraphernalia.

       The Court has since dismissed a number of claims that were initially at issue. On December

15, 2020, the Court dismissed all claims against Wood County Circuit Court Judges Potter and

Brazeau and the Children’s Hospital of Wisconsin. [Dkt. 41, p. 12.] The Court dismissed the Wood

County Department of Human Services (“WCDHS”) as a party defendant. [Dkt. 41, p. 12.] The

Court dismissed Gilbank’s Third Cause of Action under 42 U.S.C. § 1986 as being barred by

statute of limitations. [Dkt. 41, p. 2.] The Court also dismissed T.E.H. as a plaintiff. [Dkt. 41, p.

12.] Accordingly, after the Court’s December 2020 decision, Gilbank was the sole remaining

Plaintiff and the four Wood County social workers (Mary Christensen, Theresa Heinzen-Janz,

Anne La Chapelle, and Mary Solheim; hereinafter the “Wood County Defendants”), the
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Marshfield Police Department, and Marshfield police detective Derek Iverson were the remaining

defendants.

         During discovery and the pendency of the dispositive motion briefing, Gilbank has

withdrawn or waived a number of additional claims. Specifically, Gilbank conceded that she was

not asserting her Fourth Cause of Action (related to claimed HIPAA violations, professional

malpractice, and public disclosure of private facts) against the remaining Defendants. [Dkt. 115, ¶

83.] As such, that cause of action is not at issue.

         During dispositive motion briefing, Gilbank also expressly withdrew Count 1 from her

First Cause of Action (First Amendment Violation); Count 4 from her First Cause of Action (Sixth

Amendment Violation); Count Five from her First Cause of Action (Seventh Amendment

Violation); and County Six from her First Cause of Action (Eighth Amendment Violation). [Dkt.

118, pp. 2-3.] As such, there are no First, Sixth, Seventh, or Eighth Amendment Claims at issue.

         The only claims left for this Court to address are Gilbank’s Fourth Amendment, Fifth

Amendment, Ninth Amendment, Fourteenth Amendment, 42 U.S.C. § 1985, and Monell claims.

As discussed in more detail herein, there are no issues of material facts and the law warrants a

dismissal of all remaining claims with prejudice. Neither the law nor the facts support any of

Gilbank’s theories of liability, and the Court should grant judgment for the Wood County

Defendants.

                                           ARGUMENT

  I.     THERE ARE NO DISPUTED MATERIAL FACTS.

         A large portion of Gilbank’s response brief contains her narration and interpretation of the

facts of the case. However, the majority of these “facts” lack any citation to the record. [See, e.g.,

Dkt. 118, p. 5 (plaintiff claiming she “was expecting an appointment with a social




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worker…Instead, the social worker arrives with a police officer and her abuser….”; p. 6 (“Plaintiff

was in shock, confused, and scared….”); p. 6 (“Her abuser was now holding her daughter….”); p.

8 (“She has no intention of not cooperating, she just wants legal advice….”).

         The Court should summarily ignore any “fact” in Gilbank’s brief that is unsupported by a

citation to the record. Plaintiff blatantly disregarded the Court’s clear order regarding facts within

a brief. See “Standard Attachments for Civil Cases Assigned to Judge Peterson,” p. 2 (“…the

material facts must be proposed in a statement of proposed facts….”); p. 4 (contents of a response

to a motion include, “[i]f necessary, additional proposed findings of fact…following the procedure

set forth in I.B. and I.C. above.”); p. 7 (noting that non-moving party can file “supplemental

proposed findings of fact” in response to the moving party’s submission); p. 8 (“This court expects

all litigants, including persons representing themselves, to follow this court’s procedures to be

followed on motions for summary judgment. If a party does not follow the procedures, there will

be no second chance to do so.”)

         Having chosen to ignore the directions from the Court regarding how to supplement the

record with her own proposed facts, this Court should disregard the narration in Gilbank’s brief

that lacks evidentiary support.1 [Dkt. 34, p. 6 (“If you do not do things the way it says in Rule 56

and in the court’s written summary judgment procedure, then the court will not consider your

documents.”)] See Perez v. Frank, No. 06 C 248 C, 2007 WL 1101285, at *2 (W.D. Wis. Apr. 11,

2007) (“…I note that although defendants filed no proposed findings of fact to supplement the

facts proposed by plaintiff, their brief refers to facts not proposed as findings of fact. … Because

defendants did not present these facts to the court, plaintiff was given no opportunity to respond

to them. Consequently, I have ignored them and all other factual assertions not properly presented


1
  And, to the extent the Court considers the facts in the brief, despite not having set forth the facts in a separate
proposed finding, the “facts” lack evidentiary support and, therefore, should not be considered. Fed. R. Civ. P. 56(e).


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to the court as proposed findings of fact.”); Viilo v. City of Milwaukee, 552 F.Supp.2d 826, 829

(E.D. Wis. 2008) (“Viilo presented … a twenty-eight page statement of facts section in her brief,

which was not in proper form. … Nor will the court consider the proposed facts offered in Viilo's

brief, as they are not in proper form under Civil L.R. 56.2. Thus, the court will look to Viilo's

responses to defendants' proposed findings of fact in determining whether Viilo has established a

genuine question of material fact which will preclude summary judgment.”). It is also telling that

a number of these proposed “facts” relate to things that Gilbank herself purportedly felt or

witnessed. Despite that, she chose not to document those in a declaration under penalty of perjury.

[See, e.g., Dkt. 118, pp. 6, 8; see also Dkt. 117.] Regardless why she did not put these statements

into a declaration, the Court should simply disregard any claimed fact in Gilbank’s brief that lacks

a citation to a Proposed Finding of Fact and/or citation to the record.

         Instead, the Court should rely upon the Wood County Defendants’ Proposed Findings of

Fact and the reply in support. [Dkt. 76; Dkt. 128.] Though Gilbank attempted to dispute some of

the proposed facts, none of her disputes are genuine, supported by the evidence, or material. [See

Dkt. 128.] Therefore, this case is ripe for summary judgment.

 II.     THE COURT SHOULD DISMISS GILBANK’S CLAIMS PREMISED ON THE “SEIZURE” OF
         T.E.H. AND THE “EVICTION” FROM HER HOME.

         Gilbank’s Fourth Amendment Claim was initially premised on Heinzen-Janz “seizure” of

T.E.H. on August 21, 2018, her request for a urinalysis on July 3, 2018, and Heinzen-Janz’s

“eviction” of Gilbank on August 21, 2018. [See Defendants’ Reply in Support of Proposed

Findings of Fact (Dkt. 128), ¶¶ 51-53.] In their brief in support of summary judgment, the Wood

County Defendants argued that Gilbank’s “seizure” claim and “eviction” claims failed as for a

number of reasons. [Dkt. 76, pp. 4-13.]




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         In her response brief, Gilbank now contends that her Fourth Amendment claim arises solely

from “the taking of plaintiff’s urine by defendant Heinzen-Janz and defendant Iverson on July 3rd,

2018.” [Dkt. 118, p. 5.] She contends that the “seizure” and “eviction” claims arise under the

Fourteenth Amendment – not the Fourth Amendment. [Dkt. 118, p. 5.]

         Other than reclassifying the “seizure” and “eviction” claims, Gilbank did not respond to

the Wood County Defendants’ arguments regarding the merits of the “seizure” or “eviction”

claims. [See Dkt. 118.] Gilbank’s failure to respond to the Wood County Defendants’ arguments

on the two claims concedes that the Wood County Defendants’ arguments are legally valid and

correct, and Gilbank has waived her response or opposition to the arguments. See Bonte v. U.S.

Bank, N.A., 624 F.3d 461, 466 (7th Cir. 2010) (citing United States v. Farris, 532 F.3d 615, 619

(7th Cir.2008); Williams v. REP Corp., 302 F.3d 660, 667 (7th Cir.2002)). As such, the Court may

dismiss those two claims.2 Her only remaining claim for the Court’s consideration under the Fourth

Amendment is her urinalysis claim.

III.     GILBANK’S FOURTH AMENDMENT URINALYSIS CLAIM MUST BE DISMISSED.

         As the Wood County Defendants pointed out in their initial brief, Gilbank consented to the

urinalysis at issue. In her response to the proposed findings of fact, Gilbank conceded she

consented to the urinalysis. [Dkt. 128, ¶¶ 24j, 24k; 24m.] However, on the eve of the dismissal of




2
  Though Gilbank suggests that her “seizure” and “eviction” claims fall under the Fourteenth, rather than the Fourth,
Amendment, she failed to explain her position and she failed to provide any legal or factual support for her position.
[See Dkt. 118.] Her failure to provide any legal support, factual support, or analysis of any kind results in a wavier of
her argument. C&N Corp. v. Gregory Kane & Illinois River Winery, Inc., 756 F.3d 1024, 1026 (7th Cir. 2014)
(“Arguments that are ‘undeveloped, conclusory, or unsupported by law’ are waived on appeal.” (citation omitted));
Puffer v. Allstate Ins. Co., 675 F.3d 709, 718 (7th Cir. 2012) (citing United States v. Berkowitz, 927 F.2d 1376, 1384
(7th Cir.1991) (“[P]erfunctory and undeveloped arguments, and arguments that are unsupported by pertinent authority,
are waived....”) and United States v. Dunkel, 927 F.2d 955, 956 (7th Cir.1991) (“A skeletal ‘argument,’ really nothing
more than an assertion, does not preserve a claim.”)). As such, her “seizure” and “eviction” claims cannot be construed
under the Fourteenth Amendment. To the extent the Court construes those two claims under the Fourteenth
Amendment, those claims fail for the same (unrefuted) reasons articulated in the Wood County Defendants’ initial
brief. [See Dkt. 76, pp. 4-13.]


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her Fourth Amendment claim, Gilbank now asserts – without any evidence or legal support – that

her consent was not freely given and that her rights were violated. Her last minute assertion is

precluded by prior testimony and, notwithstanding her prior testimony, the facts all confirm that

her consent was not given under duress or coercion. She consented to the search and her claim

fails as a matter of law.

         It is axiomatic that the Fourth Amendment does not prohibit “all searches and seizures, but

unreasonable searches and seizures.” Terry v. Ohio, 392 U.S. 1, 9, 88 S. Ct. 1868, 20 L. Ed. 2d

889 (1968) (emphasis added). It is also fundamentally understood that a search resulting from

voluntary consent is reasonable. Georgia v. Randolph, 547 U.S. 103, 128, 126 S. Ct. 1515, 164 L.

Ed. 2d 208 (2006) (citations omitted); see also United States v. James, 571 F.3d 707, 713 (7th Cir.

2009) (“Because a person may voluntarily waive his Fourth Amendment rights, no warrant is

required where the defendant consents to a search.”).

         As a preliminary matter, it should be noted that Gilbank failed to respond to the Wood

County Defendants’ argument that she is precluded from arguing that her consent was not freely

given because she previously testified under oath during the CHIPS matter that she volunteered to

conduct the urinalysis. [See Dkt. 76, p. 143 (citing Dkt. 115, ¶ 40n); see also Dkt. 118 (failing to

respond to the issue).] Her failure to respond constitutes a concession as to the validity of the Wood

County Defendants’ argument. See Bonte, 624 F.3d at 466 (citations omitted). Therefore, her

argument that her consent was not freely given should not even be considered by the Court.



3
  Gilbank’s assertion that she did not voluntarily consent to the urinalysis is an improper attempt to retract prior
testimony (and admissions in her responses to the Wood County Defendants’ Proposed Findings of Fact) in order to
fabricate a disputed fact which does not exist. See Bank of Ill. v. Allied Signal Safety Restraint Sys., 75 F.3d 1162,
1168 (7th Cir. 1996). This fabricated factual dispute would frustrate the very purpose of summary judgment and must
not be condoned. See Adelman-Tremblay v. Jewel Companies, Inc., 859 F.2d 517, 521 (7th Cir. 1988) (“The purpose
of summary judgment motions – ‘to weed out unfounded claims, specious denials, and sham defenses’ – is served by
a rule that prevents a party from creating issues of credibility by allowing one of its witnesses to contradict his own
prior testimony.” (internal and external citations omitted)).


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       In addition to failing to respond to the legal argument about her ability to challenge the

consent in this proceeding, Gilbank also failed to respond to the majority of the Wood County

Defendants’ arguments as to how the circumstances confirm her consent was voluntary. The Wood

County Defendants applied the facts of the case to the six relevant factors which assist courts in

determining whether consent was voluntarily given. [Dkt. 76, pp. 15-16.] Gilbank did not respond

to any of those arguments. [Dkt. 118.] Instead, she made assertions about how she purportedly felt

and what purportedly happened prior to her giving consent and then summarily concluded “[t]hese

circumstances understandably put into question the reasonableness of the search….” [Dkt. 118,

pp. 5-6.] Gilbank failed to cite to any evidence to support her assertions (“Plaintiff was not

informed of any rights she may have had…”; “Plaintiff was in shock, confused…”; “Her abuser

was now holding her daughter...”; “they forged plaintiff’s initials….”) and every single assertion

she relies upon to argue that her consent was not freely given must be disregarded. She has failed

to adduce any evidence to suggest that her consent was not freely given, and her bare allegations

in her brief are insufficient to survive summary judgment. de la Rama v. Illinois Dep't of Hum.

Servs., 541 F.3d 681, 685 (7th Cir. 2008) (“A nonmoving party cannot defeat a motion for

summary judgment with bare allegations.”)

       Further, assuming the Court entertains Gilbank’s contention (notwithstanding the sham

nature of the argument and the total lack of evidence), the Wood County Defendants would be

entitled to qualified immunity because it would not have been clear to any reasonable officer that

her voluntary consent was not, in fact, voluntary. Hope v. Pelzer, 536 U.S. 730, 752, 122 S. Ct.

2508, 153 L. Ed. 2d 666 (2002) (“If ‘it would be clear to a reasonable officer that his conduct was

unlawful in the situation he confronted,’ then qualified immunity does not apply. … But if, on the




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other hand, ‘officers of reasonable competence could disagree on th[e] issue, immunity should be

recognized.’ (internal citations omitted)).

        The evidence establishes that Gilbank gave her consent freely, voluntarily, and – given her

prior history within the legal system – knowing full well that she had the right to refuse consent.

[See Dkt. 76, pp. 15-16.] Because she consented to the urinalysis, there is no Fourth Amendment

violation and her claim must be dismissed.

IV.     GILBANK’S FIFTH AMENDMENT CLAIM FAILS BECAUSE NO STATEMENTS WERE
        UTILIZED AGAINST HER IN ANY CRIMINAL PROCEEDINGS.

        In their initial brief, the Wood County Defendants explained the parameters of the Fifth

Amendment and how it was inapplicable to the present case because none of Gilbank’s statements

from the August 21, 2018 interview were used against her in any criminal proceedings. [See Dkt.

76, pp. 17-18.] In sum, absent use of statements in later criminal proceedings, there is no Fifth

Amendment violation. [Id. (citing Chavez v. Martinez, 538 U.S. 760, 767, 123 S. Ct. 1994, 155 L.

Ed. 2d 984 (2003)).

        In response, Gilbank argued that the Fifth Amendment guaranteed her the right to “get

warnings in custody and to be able to call off interrogations.” [Dkt. 118, p. 8.] Though she cited

Ohio v. Reiner in the sentences prior to this novel assertion, the case does not support her

proposition. The issue in Ohio v. Reiner was whether a third-party – who denied liability in a

criminal case, but whom the defendant accused of committing the crime for which he was on trial

– could assert the Fifth Amendment privilege against self-incrimination even though the third-

party claimed innocence. Ohio v. Reiner, 532 U.S. 17, 21, 121 S. Ct. 1252, 149 L. Ed. 2d 158

(2001). The case does not, in any way, support her contention that the Fifth Amendment allows

someone to simply “call off” interrogations. Gilbank also cited Dickerson v. United States as

support for her theory, but that case is also completely inapposite. In Dickerson, the Supreme Court



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addressed the constitutionality of 18 U.S.C. § 3501, “which in essence laid down a rule that the

admissibility of … statements [made during custodial interrogations] should turn only on whether

or not they were voluntarily made.” Dickerson v. United States, 530 U.S. 428, 432, 120 S. Ct.

2326, 147 L. Ed. 2d 405 (2000). The case does not support Gilbank’s novel legal theory.

        Gilbank provided no other legal support to suggest that the Fifth Amendment granted her

this new right and that the Wood County Defendants somehow violated that right. It is clear that

there is no violation of her Fifth Amendment rights because none of Gilbank’s statements were

used against her in criminal proceedings. Chavez, 538 U.S. at 767. As such, her claim must be

dismissed.

 V.     GILBANK’S NINTH AMENDMENT CLAIM FAILS BECAUSE IT IS NOT A RECOGNIZED
        CLAIM.

        Gilbank’s Ninth Amendment claim fails as a matter of law as “the Ninth Amendment ‘is a

rule of interpretation rather than a source of rights.’” Goodpaster v. City of Indianapolis, 736 F.3d

1060, 1075 (7th Cir. 2013) (citing Froehlich v. Wisconsin Dep't of Corr., 196 F.3d 800, 801 (7th

Cir.1999); and Quilici v. Village of Morton Grove, 695 F.2d 261, 271 (7th Cir.1982)); see also

United States v. Vital Health Prod., Ltd., 786 F. Supp. 761, 777 (E.D. Wis. 1992), aff'd sub

nom. United States v. LeBeau, 985 F.2d 563 (7th Cir. 1993)). Gilbank cited no law to support her

Ninth Amendment claim and did not respond to the Wood County Defendants’ argument that the

Ninth Amendment does not provide a separate cause of action. It is apparent that Gilbank is,

indeed, “not a Constitutional expert,” but her lack of experience and expertise does not warrant the

creation of a new cause of action. [See Dkt. 118, p. 10.] The Ninth Amendment does not provide

substantive rights and cannot form the basis for a claim. Gilbank’s claim must be dismissed.




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VI.     GILBANK’S PROCEDURAL DUE PROCESS CLAIMS MUST BE DISMISSED.

        Gilbank’s Fourteenth Amendment procedural due process claims are premised on three

acts: a lack of predeprivation hearing, failure to receive notice of one hearing, and Heinzen-Janz

allegedly providing “false, misleading, and incomplete information” during the CHIPS

proceedings. [Dkt. 128, ¶ 66.] The Wood County Defendants articulated a number of reasons why

these claims should be dismissed, including that there was no constitutional requirement to hold a

predeprivation hearing; the failure to receive notice did not give rise to a constitutional claim (and

the failure was through no fault of the Wood County Defendants); there was no false testimony

offered; and the claims are barred by immunity. [See Dkt. 76, pp. 24-31.] Gilbank’s responsive

arguments lack evidentiary and legal support, and do not save her claims from dismissal. The fact

and law mandate that her claims be dismissed.

           a. There is no procedural due process violation stemming from the lack of pre-
              deprivation hearing because the removal was justified by probable cause.

        It is well-settled that, in a child protection matter, a “post-deprivation hearing establishing

probable cause of abuse prevented due process claim for lack of pre-deprivation hearing.” Brokaw

v. Mercer Cty., 235 F.3d 1000, 1021 (7th Cir. 2000) (citing Donald v. Polk County, 836 F.2d 376,

380 (7th Cir.1988)) (emphasis added). Accordingly, if a child welfare department removes a child

from the home without a court order, but then initiates a post-deprivation hearing, the department’s

actions do not infringe on any constitutional rights so long as the post-deprivation hearing

established that there was probable cause for the removal. Hernandez ex rel. Hernandez v. Foster,

657 F.3d 463, 486 (7th Cir. 2011).

        Presumably understanding the effect this legal precedent has on her claim, Gilbank argues

that her predeprivation claim can still proceed because there was no probable cause to justify the

removal of T.E.H. [See Dkt. 118, pp. 11-13.] Unfortunately, her argument is for naught, as prior



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proceedings have already determined that probable cause existed, and her arguments are barred by

issue preclusion. [Dkt. 128, ¶¶ 35i; 36; 36b.] Jensen v. Foley, 295 F.3d 745, 748 (7th Cir. 2002).

Gilbank previously challenged the probable cause determination during the CHIPS proceedings,

but the state court judges ruled against her and concluded that probable cause existed to remove

T.E.H. [Dkt. 128, ¶¶ 38k; 39; 42; 38f; 35i; 39rr; 43k; 43j.] She is not entitled to re-litigate the issue

of probable cause here in the federal court simply because the state courts ruled against her. [See

Dkt. 118, p. 25 (conceding that she litigated the issue of probable cause at multiple levels).]

Accordingly, the matter is settled; there is no violation arising from her failure to attend the

predeprivation hearing because probable cause supported the removal.

        To the extent the Court considers her challenges to probable cause, her argument should

still be rejected for two reasons. First, she does not provide evidence to support the majority of her

factual assertions. [See Dkt. 118, pp. 10-12.] Second, her assertions regarding drug use, drug

paraphernalia, domestic abuse, and unstable living conditions support the need to remove T.E.H.;

if anything, her arguments demonstrate that the Wood County Defendants could have acted sooner

to remove T.E.H. – not that probable cause did not exist. [See id.] Finally, the issues regarding

placement – which are completely unsupported by the evidence – are not attributable to the Wood

County Defendants; the state court judges (who have been dismissed) addressed the placement.

[See Dkt. 118, p. 13; Dkt. 128, ¶ 41b.] Further, Gilbank clearly had no issue with T.E.H.’s

placement with Hoyle when she moved in with Hoyle and left T.E.H. with Hoyle prior to the

CHIPS proceedings. [See Dkt. 128, ¶¶ 19; 27i.] She only raised these concerns after placement

was decided.




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       Finally, if the Court considers her probable cause argument, the Wood County Defendants

are entitled to qualified immunity, as they would have no notice of the purported impropriety of

their actions based upon Brokaw.

           b. Subsequent hearings cured the lack of post-deprivation hearing notice and the
              Wood County Defendants had no involvement with any lack of notice of the post-
              deprivation hearing.

       Gilbank’s procedural due process claim related to the lack of notice for the August 23,

2018 postdeprivation hearing fails for two reasons: first, she received notice and participated in

subsequent postdeprivation hearings, thereby satisfying her procedural due process rights; second,

the alleged failure to receive notice is not attributable to the Wood County Defendants.

       In response to the first argument, Gilbank does not dispute that postdeprivation hearings

occurred. [See Dkt. 118, pp. 15-17.] She does not dispute that she attended the hearings. [Id.] She

does not dispute that she was represented by counsel at those hearings. [Dkt. 128, ¶¶ 38d; 39e;

40c.] Instead, she takes issue with how the judges conducted those hearings. [See Dkt. 118, p. 16

(“Plaintiff attempts to present evidence – she is denied. Plaintiff requests that the court hear her

motion… - she is denied.”).] The judges’ decision to deny her motions or control the admission of

evidence is not attributable to the Wood County Defendants and does not render the

postdeprivation hearings inadequate. Gilbank was undeniably still afforded a time and place to be

meaningfully heard on the issues.

       As it relates to her argument on the timeliness of the post-deprivation hearings, there is no

evidence that any of the Wood County Defendants were responsible for the claimed delays. In fact,

the Eighth Circuit Court of Appeals rejected the very same argument Gilbank advances here, and

distinguished the very case she attempts to rely upon. In Webb as Next Friend of K.S. v. Smith, the

court considered the very same argument advanced here: plaintiffs in that case argued that a




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twenty-eight day delay for a post-deprivation hearing in a custody case gave rise to procedural due

process claims against the social workers involved in the child’s removal. Webb as Next Friend of

K.S. v. Smith, 936 F.3d 808, 815 (8th Cir. 2019). The plaintiffs in Webb cited Whisman v. Rinehart

(the same case cited by Gilbank – Dkt. 118, p. 17) in support of their argument, but the court

rejected plaintiffs’ position. Id. Specifically, the Court noted that in Whisman, the social worker

“helped delay a hearing…” whereas in Webb, there was no evidence that the social workers had

any control over the purported delay. Id.

         Like the social workers in Webb, there is no evidence to suggest that the Wood County

Defendants took (or failed to take) any action which lead to a delay in the subsequent

postdeprivation hearings. Therefore, any purported delay cannot form the basis of a claim against

the Wood County Defendants.

         Similarly, Gilbank’s claim premised on the lack of notice provided for the August 23, 2018

post-deprivation hearing must be dismissed because there was no wrongdoing on the part of any

Wood County Defendant. As outlined in their initial brief, Heinzen-Janz provided information

regarding the hearing to the jail, but due to an error on the part of the jail, Gilbank did not receive

the information. [See Dkt. 76, p. 28.] However, Heinzen-Janz cannot be held liable for another

entity’s failure to act. See Webb, 936 F.3d at 815-16. There is no evidence that she acted

inappropriately or maliciously to prevent Gilbank from attending the hearing; she abided by the

normal procedure for notifying inmates.4 [Dkt. 128, ¶ 39jj.] The fact that the notice was not



4
  Gilbank’s argument regarding Wis. Stat. § 48.27(3)(a)(1) misses the mark completely, as the statute imposes a duty
on the court to provide notice – not any of the Wood County Defendants. See Wis. Stat. § 48.27(3)(a)(1) (“…the
court shall notify, under s. 48.273, the child, any parent…” (emphasis added). Further, even if the Wood County
Defendants had a statutorily obligation to provide notice in a specific manner, failure to do so does not give rise to a
constitutional violation. The Seventh Circuit has cautioned again and again that noncompliance with state law is not
itself a violation of the constitution. See Vargas v. Cook Co. Sheriff’s Merit Board, 952 F.3d 871, 874-75 (7th Cir.
2020) (holding that the law has been clear “for decades” that noncompliance with state law is not itself a deprivation
of due process of law).


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conveyed to Gilbank by the jail staff is by no fault of the Wood County Defendants and, as such,

cannot form the basis for a claim against them. Therefore, that aspect of her claim must also be

dismissed.5

        Finally, the Wood County Defendants are also entitled to qualified immunity because any

alleged wrongdoing was not clearly established at the time. Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982); Wilson v. Layne, 526 U.S. 603, 609 (1999); Saucier v. Katz, 533 U.S. 194, 207 (2001).

To the contrary, case law suggests that the actions complained of complied with prior precedent.

See Webb, 936 F.3d 808.

             c. Gilbank’s claims regarding the information presented by the Wood County
                Defendants at the CHIPS hearings lack evidentiary support and are barred by
                absolute immunity.

        In response to the evidence that the Wood County Defendants provided truthful petitions

and testimony at the CHIPS proceedings, Gilbank not provide any factual support for her

conclusions that false information was presented. She cited no evidence other than the petitions or

agency records themselves. [See, e.g., Dkt. 118, p. 18 (citing Dkt. 115, p. 36 ¶ 2 (agency log)).]

Absent evidence of any false statements, her claim fails.

        Presumably understanding that she lacked evidence to support her contention that false

statements were made, Gilbank asserts that her claim should still proceed because Heinzen-Janz

failed to provide certain information to the court during the CHIPS proceedings, and that such

actions imposes liability. However, social workers are entitled to absolute immunity for petitioning

the court, selecting which information to present to the court, and testifying. Loertscher v.



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  Additionally, the Wood County Defendants are entitled to absolute immunity for electing to proceed with the hearing
despite Gilbank not receiving notice. See Loertscher v. Anderson, No. 14-CV-870-JDP, 2016 WL 3166599, at *4
(W.D. Wis. June 6, 2016) (“In Millspaugh, the Seventh Circuit determined that a county social worker was entitled to
absolute prosecutorial immunity for…(3) deciding to go forward with child services proceedings despite not providing
the mothers with adequate notice….” (citing Millspaugh v. Cty. Dep't of Pub. Welfare, 937 F.2d 1172, 1175-76 (7th
Cir. 1991)).


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Anderson, No. 14-CV-870-JDP, 2016 WL 3166599, at *4 (W.D. Wis. June 6, 2016) (citing

Millspaugh v. Cty. Dep't of Pub. Welfare, 937 F.2d 1172, 1175-76 (7th Cir. 1991)). Therefore, her

claim must be dismissed before even considering the merits of her baseless accusations.

VII.       GILBANK’S SUBSTANTIVE DUE PROCESS CLAIM MUST BE DISMISSED.

           Notwithstanding Gilbank’s failure to cite evidence to support her nominal and conclusory

argument in support of her substantive due process claim, Gilbank’s claim must be dismissed for

two reasons. First, the disruption to her relationship with T.E.H. was not unlawful; the court in the

CHIPS proceedings concluded that the removal was warranted.6 Second, Gilbank has no evidence

that the removal was intended to interfere with the parent/child relationship, as is required to

maintain a substantive due process claim.

           While the due process clause does protect against unlawful severances in the parent-child

relationship, “[t]he Supreme court has recognized violations of the due process liberty interest in

the parent-child relationship only where the state took action specifically aimed at interfering

with that relationship.” Russ v. Watts, 414 F.3d 783, 786, 788 (7th Cir.2005) (emphasis added).

Further, interference with the parent/child relationship may be justified when the state proves there

is a need to protect the child from abuse. Hernandez ex rel. Hernandez v. Foster, 657 F.3d 463,

474 (7th Cir. 2011).

           In this case, there is no evidence the removal of T.E.H. was done with any intent to interfere

with the parent-child relationship. Rather, it was done because of the imminent threat of harm

posed by T.E.H.’s proximity to drugs and drug users. [See Dkt. 76, pp. 32-33.] The court in the

CHIPS proceedings concluded that removal was warranted by probable cause. [Dkt. 128, ¶¶ 35i;




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    Any challenge to the court’s determination is barred by issue preclusion. See Section VI.a.


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 36; 36b.] As such, her assertions that “T.E.H. was happy, healthy, and thriving” have previously

 been debunked.

          Further, Gilbank failed to respond to the Wood County Defendants’ argument that her

 substantive due process claim is barred by qualified immunity. [See Dkt. 76, pp. 33-34; see Dkt.

 118.] Gilbank’s failure to respond results in a waiver and the Court can summarily conclude that

 qualified immunity applies.

VIII.     GILBANK’S § 1985 CLAIM MUST BE DISMISSED BECAUSE THERE IS NO EVIDENCE OF
          CLASS OR RACE-BASED ANIMUS.

          It is well-settled law that a claim pursuant to 42 U.S.C. § 1985 requires evidence of class

 or race-based discriminatory animus. Brokaw v. Mercer Cnty., 235 F.3d 1000, 1024 (7th Cir.

 2000); Campbell v. Amax Coal Co., 610 F.2d 701, 702 (10th Cir. 1979). Gilbank completely failed

 to address this issue in her response brief and, as such, has conceded the issue. Bonte, 624 F.3d at

 466 (citations omitted). There is no evidence of any animus – let alone any class or race-based

 animus – so her § 1985 claim fails as a matter of law and must be dismissed.

 IX.      THERE IS NO EVIDENCE TO SUPPORT CLAIMS AGAINST SOLHEIM, CHRISTENSEN, OR
          LACHAPELLE.

          Under 42 U.S.C. § 1983, individual liability requires “personal involvement in the alleged

 constitutional deprivation.” Minix v. Canarecci, 597 F.3d 824, 833 (7th Cir. 2010) (citation

 omitted). Gilbank has no evidence that Mary Solheim, Mary Christensen, or Anne LaChapelle

 personally participated in any of the acts which she alleges gave rise to constitutional violations

 and, therefore, her claims against those defendants must be dismissed.

          In their initial brief, the Wood County Defendants articulated how Solheim had no

 involvement with any of the actions which Gilbank premised her claims because she was not

 employed by the County at the time. [See Dkt. 76, pp. 37-38.] Gilbank does not dispute this, but




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instead contends that Solheim had some unidentified constitutional obligation to “discipline her

staff and/or report them for violations, and to petition the court for correction.” [Dkt. 118, p. 23.]

Gilbank did not provide any legal or factual support for her contentions and, as such, her

undeveloped conclusory assertions must be disregarded by the Court. C&N Corp., 756 F.3d at

1026; Puffer, 675 F.3d at 718. Notwithstanding her failure to develop and support an argument,

her argument is clearly contrary to established precedent which holds that a supervisor may only

incur personal liability under § 1983 with actual knowledge and acquiescence to a subordinate’s

ongoing illegal actions. Minix, 597 F.3d at 833-34. Given that Solheim was not even an employee

at the time of the alleged wrongdoings, she cannot be held liable and claims against her must be

dismissed.

       The Wood County Defendants also articulated in their initial brief why the claims against

Christiansen lack any factual or legal basis. [See Dkt. 76, pp. 38-39.] Specifically, Christiansen

had no actual involvement with any of the underlying CHIPS proceedings that Gilbank premised

her claims upon. [Id.] Gilbank does not refute that contention. [See Dkt. 118, p. 23.] Instead, she

doubles down on her claim that Christensen threatened her and asserts her claim may rest upon

that alleged action. [Id.] First, Gilbank lacks evidence to support her contentions in her brief;

notably, there is not a single record citation in the sole paragraph she devoted to this “argument.”

[Id.] Second, even if Christiansen did threaten Gilbank, that does not support a claim against her

because it is well-settled that “verbal threats alone do not constitute a constitutional violation….”

Pride v. Holden, 1 F.3d 1244, at *3 (7th Cir. 1993); see also Kubsch v. Bellile, No. 07-C-419-C,

2007 WL 5658904, at *1 (W.D. Wis. Aug. 17, 2007); Shabani v. Kalka, No. 20-CV-470-BBC,

2020 WL 4339052, at *1 (W.D. Wis. July 28, 2020); Dick v. Gainer, No. 97 C 8790, 1998 WL

214703, at *5 (N.D. Ill. Apr. 23, 1998) (“…mere threats do not rise to the level of a constitutional




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violation. There is no constitutional right to be free from threats of arrest; an actual civil rights

violation must occur before a cause of action arises under § 1983.”). Given that Gilbank’s sole

claim against Christiansen rests upon her purported threats, and threats do not give rise to

constitutional claims, Gilbank has no legal basis to maintain her claim against Christiansen.

Accordingly, the claims against Christiansen must be dismissed.

        Finally, as it relates to the claims against LaChapelle, the Wood County Defendants

explained that Gilbank’s claims against her must be dismissed because LaChapelle did not have

knowledge of any alleged wrongs and because her alleged failure to provide Gilbank her desired

response to a grievance does not give rise to a claim. [Dkt. 76, pp. 39-40.] In response, Gilbank

cited a number of log records that referenced LaChapelle’s involvement with the CHIPS

proceeding. [See Dkt. 118, p. 24.] However, she does not articulate how any of those contacts

demonstrate acquiescence to any of the specific wrongs that she complains of – namely, the

urinalysis, alleged false statements during the CHIPS hearings, or the removal of T.E.H. The fact

that LaChapelle was a supervisor, or that she may have touched the case file, does not suggest that

she had notice of, and acquiesced to, known constitutional violations, and cannot give rise to

personal liability under § 1983.

 X.     GILBANK HAS NOT ESTABLISHED A MONELL CLAIM.

        By failing to respond to the Wood County Defendants’ Monell argument regarding official

policies, Gilbank concedes that there are no Wood County policies that support a Monell claim

against the County. [See Dkt. 118.] Instead, she argues that she “suspects” LaChapelle and Solheim

“might meek [sic]” the standards of a final policymaker such that Monell liability would be

imposed. [Dkt. 118, p. 26.] Gilbank provides nothing more than her suspicions: there is no factual

support for her suspicions, nor any legal authority cited. Further, she conceded (or failed to refute)




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that none of the Wood County Defendants were final policymakers. [See Dkt. 128, ¶¶ 84-87.] Her

undeveloped and perfunctory arguments should be disregarded and her Monell claim dismissed as

a matter of law. C&N Corp., 756 F.3d at 1026; Puffer, 675 F.3d at 718.

                                       CONCLUSION
       For the reasons set forth above and in prior briefing to the Court, the Court should grant

the Wood County Defendants’ Motion for Summary Judgment and dismiss Plaintiff’s claims with

prejudice and with costs.

       Dated this 5th day of October, 2021.

                                              AXLEY BRYNELSON, LLP

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